Case 2:15-cv-11080-MOB-APP ECF No. 10-7, PageID.158 Filed 04/06/15 Page 1 of 6
Case 2:15-cv-11080-MOB-APP ECF No. 10-7, PageID.159 Filed 04/06/15 Page 2 of 6
Case 2:15-cv-11080-MOB-APP ECF No. 10-7, PageID.160 Filed 04/06/15 Page 3 of 6
Case 2:15-cv-11080-MOB-APP ECF No. 10-7, PageID.161 Filed 04/06/15 Page 4 of 6
Case 2:15-cv-11080-MOB-APP ECF No. 10-7, PageID.162 Filed 04/06/15 Page 5 of 6
Case 2:15-cv-11080-MOB-APP ECF No. 10-7, PageID.163 Filed 04/06/15 Page 6 of 6
